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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF IOWA


UNITED STATES OF AMERICA,                  )
                                           )   Case No. 4:22-CR-067
                     v.                    )
                                           )   PLEA AGREEMENT
ROGER PAUL BRADFORD                        )
also known as, Paul Bradford,              )
                                           )
             Defendant.                    )

      The United States of America (also referred to as “the Government”) and the

Defendant, ROGER PAUL BRADFORD, also known as Paul Bradford, and

Defendant’s attorney, enter into this Plea Agreement.

A.    CHARGES

      1.     Subject Offenses.     Defendant will plead guilty to Count 1 of the

Indictment, that is conspiracy to commit wire fraud, in violation of Title 18, United

States Code, Section 1349.

      2.     Charges Being Dismissed. If the Court accepts this Plea Agreement,

Count 2 of the Indictment, that is, Attempted Obstruction of Official Proceeding, in

violation of Title 18, United States Code, Section 1512(c)(2), will be dismissed at the

time of sentencing        Defendant understands that, even though Count 2 will be

dismissed, all relevant conduct including the conduct that supported the charge in

Count 2 will be considered by the Court at the time of sentencing.




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B.    MAXIMUM PENALTIES

      3.     Maximum Punishment.        Defendant understands that the crime to

which Defendant is pleading guilty to in Count 1 carries a maximum sentence of 20

years in prison; a maximum fine of $250,000; and a term of supervised release of not

more than 3 years. A mandatory special assessment of $100 per count must also be

imposed by the Court.

      4.     Supervised Release--Explained. Defendant understands that, during

any period of supervised release or probation, Defendant will be under supervision

and will be required to comply with certain conditions. If Defendant were to violate

a condition of supervised release, Defendant could be sentenced up to two (2) years in

prison, without any credit for time previously served.

      5.     Detention. Provided that Defendant does not violate any conditions of

Defendant’s pretrial release, and does not appear to be mentally at risk to harm

himself or any other person, the Government agrees to recommend that Defendant

may remain on pretrial release pending imposition of sentence.

C.    NATURE OF THE OFFENSE -- FACTUAL BASIS

      6.     Elements Understood.      Defendant understands that to prove the

offense alleged under Count 1 (conspiracy to commit wire fraud), the

Government would be required to prove beyond a reasonable doubt the following

elements:

             (a)   Two or more persons reached an agreement to commit wire fraud;

             (b)   Defendant voluntarily and intentionally joined in the agreement;

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                  and

            (c)   At the time Defendant joined the agreement, Defendant knew the
                  purpose of the agreement.

      7.    Factual Basis.   As a factual basis for Defendant’s plea of guilty,

Defendant admits the following:

            (a)   Vermeer Corporation (“Vermeer”) is a manufacturer of industrial
                  agricultural equipment, with its headquarters, and multiple
                  manufacturing plants located in Pella, Iowa, which is in the
                  Southern District of Iowa.

            (b)   At all relevant times, Viorel Draghia (“Draghia”) owned,
                  controlled, and operated Draghia Painting & Contracting Co.
                  (“Draghia Contracting”). Through Draghia Contracting, Viorel
                  Draghia sought and obtained contracts to complete work on
                  construction projects.

            (c)   Defendant knew Viorel Draghia and had known Draghia for
                  several years prior to 2019. Defendant and Draghia both had
                  principal places of residence in or around Northern Virginia.

            (d)   In January 2019, Vermeer hired Defendant to oversee certain
                  Vermeer construction projects, including projects at its Pella
                  campus. Defendant was an employee of Vermeer and his title
                  was Director of Construction. In January 2019, Defendant
                  informed Draghia of Defendant’s new employment at Vermeer.
                  On multiple occasions from January through October 2019,
                  Defendant sent confidential Vermeer construction project-related
                  information from Defendant’s Vermeer email account to
                  Defendant’s personal email account and then Defendant
                  forwarded said information to Viorel Draghia via email. These
                  emails included information that should not be provided to a
                  contractor, such as Draghia, who might seek to bid for work on
                  Vermeer projects.

            (e)   Beginning in or about January 2019 and continuing until at least
                  on or about October 29, 2019, Defendant voluntarily and
                  intentionally had an agreement with Viorel Draghia, to commit
                  wire fraud against Vermeer by agreeing with each other that
                  Defendant would direct construction contracts at Vermeer to

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            Draghia Contracting and Viorel Draghia would then pay
            monetary kickbacks to Defendant. Defendant and Draghia used
            interstate wire communications in furtherance of the scheme to
            defraud Vermeer.

      (f)   One project that Defendant was overseeing for Vermeer was the
            construction of the “Vermeer EcoCenter” building in Pella.
            Defendant and Viorel Draghia worked together to formulate
            proposals, or “bids”, for Draghia Contracting to complete certain
            work on the Vermeer EcoCenter project. Draghia submitted
            these proposals to the general contractor of the project via email,
            copying Defendant.        At all times Defendant and Draghia
            knowingly and deliberately concealed and failed to disclose their
            kickback agreement to Vermeer employees and officers and the
            general contractor.         This concealment was material.
            Specifically, the existence of their kickback agreement was
            material to the scheme to defraud Vermeer because if Vermeer
            officials had known about the kickback agreement, Draghia
            Contracting would not have been awarded a contract for work at
            Vermeer.

      (g)   The general contractor worked for the customer—that is,
            Vermeer. The general contractor on the EcoCenter project
            reported directly to Defendant, who was Vermeer’s Director of
            Construction. Defendant had significant influence over what
            company would work as general contractor. On May 29, 2019,
            Defendant inquired with the EcoCenter project general contractor
            whether the general contractor was sub-contracting out the
            masonry work. The general contractor told Defendant that the
            mason work would be contracted out and that the general
            contractor had already received two bids for that work, but would
            be open to looking at another bid. In response, Defendant told
            the general contractor that Defendant would prefer to use “my
            guy”. On July 7, 2019, Draghia submitted a bid to the general
            contractor via email, copying Defendant. This original bid by
            Draghia was for $829,590.        The general contractor then
            reminded Defendant via email that it had received the two earlier
            bids for that work—bids that were for $573,527 and $641,437.
            Defendant told the general contractor that “I feel confident that
            this is the Vendor [Draghia Contracting] we want to do that block
            work”. Defendant sought to allay the concerns of the general
            contractor and justify Draghia’s bid by asserting the other bids
            were unrealistic, that Draghia would get it done timely because

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            he had the necessary manpower, and that Draghia did quality
            work. This was a misrepresentation in that Defendant knew, at
            minimum, that Draghia did not have laborers who would do the
            work but that Draghia would instead “re-subcontract” the work
            out to another company to do the labor. And Defendant omitted
            from his justification that a reason Defendant wanted Draghia to
            be awarded the work was so that Draghia could then pay
            Defendant a kickback. Defendant told the general contractor that
            Defendant and the general contractor would negotiate with
            Draghia as Defendant stated, “this proposal [$829,590] looks a
            little high to me.” Defendant asked Draghia to bring his bid
            down to around $800,000. On July 10, 2019, Draghia emailed
            the general contractor, copying Defendant, a revised bid for
            $800,555. On July 17, 2019, Defendant sent an email to the
            general contractor directing him to give the job to Draghia “all in”
            at $790,000. Draghia Contracting was then awarded a contract
            for masonry-related work on the Vermeer EcoCenter. The initial
            contract amount agreed upon was for $790,000, but the amount
            was immediately revised upward to $800,555.               Draghia
            Contracting labor did not do the work covered by the initial
            contract. Instead, Draghia Contracting “re-subcontracted” with
            a masonry company located in Central Iowa that agreed to
            complete the work within the scope of the initial contract for
            $572,409.

      (h)   Additional construction work at the Vermeer campus, both on the
            Vermeer EcoCenter and a separate project, was awarded to
            Draghia Contracting between July and October 2019.

      (i)   The various proposals submitted by Viorel Draghia and contracts
            issued to Draghia Contracting from July through October 2019
            were transmitted via email. During that time Draghia, via
            email, submitted invoices seeking payment for work completed
            under the contracts. As a result, Draghia received payments for
            work completed.      The above-referenced emails were all
            interstate wire communications in furtherance of the scheme to
            defraud Vermeer.

      (j)   On multiple different dates during the summer and fall of 2019,
            Viorel Draghia paid kickbacks to Defendant for the Vermeer
            construction work that had been awarded to Draghia
            Contracting.    These kickback payments included multiple
            checks payable from a checking account in the name of “Viorel

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            Draghia DBA Draghia Painting & Contracting Co.” and said
            checks were made payable to “Paul Bradford”. Defendant
            knowingly and deliberately concealed and failed to disclose the
            payment of these kickbacks from Vermeer and the general
            contractor for the Vermeer EcoCenter project.

      (k)   Defendant further stipulates, in accepting his responsibility, to
            the following:

            (i)    On June 25, 2020, Special Agents with the Federal Bureau
                   of Investigation spoke with Defendant at his place of work
                   in Maryland. FBI Special Agent Kevin Kohler led this
                   interview and identified himself at the onset of the
                   interview as being an FBI agent based out of Iowa.
                   During the interview Defendant repeatedly stated that
                   there were no kickbacks paid to Defendant in relation to
                   the Vermeer construction project or any other construction
                   project, specifically including the LG Corporation project in
                   Clarksville, Tennessee and the Aberdeen Proving Grounds
                   project in Aberdeen, Maryland.           These were false
                   statements and Defendant knew them to be false. Agent
                   Kohler showed Defendant several checks payable from
                   Draghia Contracting to Defendant. Defendant knowingly
                   gave false explanations as to the purpose of the payments.

            (ii)   After the FBI agents departed from Defendant’s place of
                   employment on June 25, Defendant contacted Viorel
                   Draghia and requested that they urgently meet.
                   Defendant and Draghia met at a Starbucks in Northern
                   Virginia the afternoon of June 25. The FBI surveilled and
                   covertly audio-recorded the meeting. At the Starbucks,
                   Defendant told Draghia about the meeting that Defendant
                   had with the FBI earlier that day and some of the
                   information that the FBI confronted Defendant with.
                   Defendant told Draghia that the FBI was probably on the
                   way to Draghia’s house to interview Draghia. Defendant
                   told Draghia that Defendant had denied to the FBI that
                   Defendant had ever received a kickback from Draghia.
                   Defendant repeatedly told Draghia several explanations—
                   each of which were false—that they should use to explain
                   away the checks payable from Draghia Contracting to
                   Defendant. Defendant implored Draghia to not cooperate
                   with the investigators and not “flip” against Defendant.

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                         Among other things, Defendant stated:
                          “As long as we stick together, we will be OK.”
                          “Do not talk to them [FBI]. Do not invite them in.”
                          Defendant told Draghia that there is no way his friend
                           [Draghia] was going to get on the witness stand and
                           admit to something that could put him in prison for
                           decades. Defendant stated, “It is insanity. Don’t do
                           it. Don’t flip.”
                          “The only way they can tie it back is if you and I flip.
                           And neither one of us are going to do that to each other.”
                          “You don’t want to talk to the FBI. No one that has
                           ever talked to the FBI has done any good.”
                          “You don’t want to lie about the things they [FBI] got.”
                           “They [FBI] got the money. So what? That’s not the
                           crime. What’s a crime is a kickback or tax evasion.
                           That’s the crime.”
                          As long as we stick together, “we won’t have to answer
                           questions unless they charge us and take us to court
                           and that’s a year and a half away by the time it winds
                           its way. Even if that happens, by that time you and I
                           will have a rock-solid case.”
                          Defendant told Draghia they need to tell their lawyers
                           that these were consulting payments so their stories are
                           consistent. Defendant re-iterated the importance of
                           their stories matching.
                          Moments before they departed the Starbucks,
                           Defendant stated to Draghia “don’t say a word to him
                           [the FBI agent].” Defendant told Draghia to “look me
                           in the eye” followed by the following exchange:
                               o Defendant: “Can I trust you?”
                               o Draghia: “Yes”
                               o Defendant: “Do you really love me as a brother?”
                               o Draghia: “Yes, sir.”
                               o Defendant: “Promise?”
                               o Draghia:      “Promise.”
                               o Defendant: “Forever?”
                               o Draghia:       “OK.”

      8.    Truthfulness of Factual Basis. Defendant acknowledges that the above

statements are true.   Defendant understands that, during the change of plea

hearing, the judge and the prosecutor may ask Defendant questions under oath about

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the offense to which Defendant is pleading guilty, in the presence of Defendant’s

attorney.   Defendant understands that Defendant must answer these questions

truthfully, and that Defendant can be prosecuted for perjury if Defendant gives any

false answers.

      9.     Waiver of Rule 410 Rights.           The Defendant expressly waives

Defendant’s rights under Rule 410 of the Federal Rules of Evidence and agrees that

all factual statements made in this plea agreement, including under the Factual

Basis, are admissible against the Defendant. Should Defendant fail to plead guilty

pursuant to this plea agreement or move to withdraw his plea or to set aside

Defendant’s conviction, then these admissions may be used against Defendant in the

Government’s case-in-chief and otherwise, including during the continuing

prosecution of this case.

      10.    Venue.    Defendant agrees that venue for this case is proper for the

United States District Court for the Southern District of Iowa.

D.    SENTENCING

      11.    Sentencing Guidelines.       Defendant understands that Defendant’s

sentence will be determined by the Court after considering the advisory United States

Sentencing Guidelines, together with other factors set forth by law. The Sentencing

Guidelines establish a sentencing range based upon factors determined to be present

in the case, which include, but are not limited to the following:

             (a)    The nature of the offense to which Defendant is pleading guilty;

             (b)    The amount of money and “loss” involved in the offense, with the

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                  parties stipulating as a recommendation to the District Court
                  that the “loss” exceeded $15,000 for purposes of USSG
                  §2B1.1(b)(1) with the extent to which the “loss” exceeded $15,000
                  to be determined by the District Court;

            (c)   Whether sophisticated means were used to commit all or part of
                  the offenses, with the parties stipulating as a recommendation to
                  the District Court that an upward adjustment should not be
                  applied under USSG §2B1.1(b)(10)(C);

            (d)   Defendant’s role in the offense, with the parties stipulating as a
                  recommendation to the District Court that neither an upward nor
                  downward adjustment should be applied under USSG §3B1.1 and
                  §3B1.2;

            (e)   Whether Defendant abused a position of public or private trust in
                  a manner that significantly facilitated the commission or
                  concealment of the offense, with the parties stipulating as a
                  recommendation to the District Court that a two-level upward
                  adjustment should be applied under USSG §3B1.3;

            (f)   Whether Defendant attempted to obstruct justice in the
                  investigation or prosecution of the offense, with the parties
                  stipulating as a recommendation to the District Court that a two-
                  level upward adjustment should be applied under USSG §3C1.1;

            (g)   The nature and extent of Defendant’s criminal history (prior
                  convictions); and

            (h)   Acceptance or lack of acceptance of responsibility.

Defendant understands that, under some circumstances, the Court may “depart” or

“vary” from the Sentencing Guidelines and impose a sentence more severe or less

severe than provided by the guidelines, up to the maximum in the statute of

conviction. Defendant has discussed the Sentencing Guidelines with Defendant’s

attorney.

      12.   Acceptance of Responsibility.       The Government agrees as a


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recommendation to the District Court that Defendant receive credit for acceptance of

responsibility under USSG §3E1.1(a). The Government reserves the right to oppose

a reduction under §3E1.1(a) if after the plea proceeding Defendant obstructs justice,

fails to cooperate fully and truthfully with the United States Probation Office,

attempts to withdraw Defendant’s plea, or otherwise fails to clearly demonstrate

acceptance of responsibility. If Defendant qualifies for a decrease under § 3E1.1(a),

and the base offense level is 16 or above, as determined by the Court, the Government

agrees to make a motion to the District Court that Defendant should receive an

additional 1-level reduction under USSG §3E1.1(b), based on timely notification to

the Government of Defendant’s intent to plead guilty. The government may withhold

this motion based on any interest identified in USSG § 3E1.1.

      13.    Presentence Report. Defendant understands that the Court may defer

a decision as to whether to accept this Plea Agreement until after a Presentence

Report has been prepared by the United States Probation Office, and after

Defendant’s attorney and the Government have had an opportunity to review and

challenge the Presentence Report.     The parties are free to provide all relevant

information to the Probation Office for use in preparing a Presentence Report.

      14.    Disclosure of Presentence Investigation Reports.    The United States

District Court for the Southern District of Iowa has issued the following

Administrative Order:

      The presentence investigation report is a sealed and confidential document.
      Unless specifically authorized by the district court, a defendant may not
      disseminate, disclose, or distribute a presentence investigation report, or any

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      part or page of a presentence investigation report, in either draft or final form.
      A defendant who violates this order, may be subject to prosecution for contempt
      of court under 18 U.S.C. § 401(3). This order does not apply to a defendant’s
      review of a presentence investigation report with the defendant’s own attorney.

Defendant acknowledges and understands this order.

      15.    Evidence at Sentencing. The parties may make whatever comment and

evidentiary offer they deem appropriate at the time of sentencing and entry of plea,

provided that such offer or comment does not violate any other provision of this Plea

Agreement. Nothing in this Plea Agreement restricts the right of Defendant or any

victim to make an allocution statement, to the extent permitted under the Federal

Rules of Criminal Procedure, nor does this Plea Agreement convey any rights to

appear at proceedings or make statements that do not otherwise exist.

      16.    Sentence to be Decided by Judge -- No Promises. This Plea Agreement

is entered pursuant to Rule 11(c)(1)(A) and (B) of the Federal Rules of Criminal

Procedure.     Defendant understands that the final sentence, including the

application of the Sentencing Guidelines and any upward or downward departures,

is within the sole discretion of the sentencing judge, and that the sentencing judge is

not required to accept any factual or legal stipulations agreed to by the parties. Any

estimate of the possible sentence to be imposed, by a defense attorney or the

Government, is only a prediction, and not a promise, and is not binding. Therefore,

it is uncertain at this time what Defendant’s actual sentence will be.

      17.    No Right to Withdraw Plea. Defendant understands that Defendant

will have no right to withdraw Defendant’s plea if the sentence imposed, or the


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application of the Sentencing Guidelines, is other than what Defendant anticipated,

or if the sentencing judge declines to follow the parties= recommendations.

E.    FINES, COSTS, AND RESTITUTION

      18.    Fines and Costs. Issues relating to fines and/or costs of incarceration

are not dealt with in this agreement, and the parties are free to espouse their

respective positions at sentencing.

      19.    Special Assessment. Defendant agrees to pay the mandatory special

assessment of $100 per count of conviction at or before the time of sentencing, as

required by 18 U.S.C. § 3013.

      20.    Restitution. Defendant agrees that the Court should impose an order

of restitution for all relevant conduct in an amount to be determined by the Court;

that such order of restitution shall be due and payable immediately; and that if

Defendant is not able to make full payment immediately, Defendant shall cooperate

with the United States Probation Office in establishing an appropriate payment plan,

which shall be subject to the approval of the Court, and thereafter in making the

required payments. Any such payment plan does not preclude the Government from

utilizing any collections procedures pursuant to the Federal Debt Collections Act and

including the Treasury offset program.

      21.    Financial Statement. Defendant agrees to complete truthfully and in

full a financial statement provided by the U.S. Attorney’s Office, and return the

financial statement to the U.S. Attorney’s Office within 30 days of the filing of this

Plea Agreement.

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F.    LIMITED SCOPE OF AGREEMENT

      22.    Limited Scope of Agreement. This Plea Agreement does not limit, in

any way, the right or ability of the Government to investigate or prosecute Defendant

for crimes occurring outside the scope of this Plea Agreement. Additionally, this

Plea Agreement does not preclude the Government from pursuing any civil or

administrative matters against Defendant, including, but not limited to, civil tax

matters and civil forfeiture which arise from, or are related to, the facts upon which

this investigation is based.

      23.    Agreement Limited to Southern District of Iowa. This Plea Agreement

is limited to the United States Attorney’s Office for the Southern District of Iowa, and

cannot bind any other federal, state or local prosecuting, administrative, or

regulatory authorities.

      24.    Vermeer Corporation not a party to this Agreement.              Defendant

understands that Vermeer Corporation is not a party to this Plea Agreement, and

that the “loss” and “restitution” amounts applicable to this criminal case do not

resolve any claims that Vermeer Corporation may have against Defendant.

Defendant understands that Vermeer Corporation remains free to pursue all lawful

civil remedies it may deem appropriate.

G.    WAIVER OF TRIAL, APPEAL AND POST-CONVICTION RIGHTS

      25.    Trial Rights Explained. Defendant understands that this guilty plea

waives the right to:

             (a)       Continue to plead not guilty and require the Government to prove

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                   the elements of the crime beyond a reasonable doubt;

             (b)   A speedy and public trial by jury, which must unanimously find
                   Defendant guilty before there can be a conviction;

             (c)   The assistance of an attorney at all stages of trial and related
                   proceedings, to be paid at Government expense if Defendant
                   cannot afford to hire an attorney;

             (d)   Confront and cross-examine adverse witnesses;

             (e)   Present evidence and to have witnesses testify on behalf of
                   Defendant, including having the court issue subpoenas to compel
                   witnesses to testify on Defendant’s behalf;

             (f)   Not testify or have any adverse inferences drawn from the failure
                   to testify (although Defendant also has the right to testify, if
                   Defendant so chooses); and

             (g)   If Defendant is convicted, the right to appeal, with the assistance
                   of an attorney, to be paid at Government expense if Defendant
                   cannot afford to hire an attorney.

      26.    Waiver of Appeal and Post-Conviction Review. Defendant knowingly

and expressly waives any and all rights to appeal Defendant’s conviction in this case,

including a waiver of all motions, defenses and objections which Defendant could

assert to the charge, or to the Court’s entry of judgment against Defendant; except

that both Defendant and the United States preserve the right to appeal any sentence

imposed by the Court, to the extent that an appeal is authorized by law.         Also,

Defendant knowingly and expressly waives any and all rights to contest Defendant’s

conviction and sentence in any post-conviction proceedings, including any

proceedings under 28 U.S.C. § 2255. These waivers are full and complete, except

that they do not extend to the right to appeal or seek post-conviction relief based on


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grounds of ineffective assistance of counsel or prosecutorial misconduct.

H.    VOLUNTARINESS OF PLEA AND OPPORTUNITY TO CONSULT
      WITH COUNSEL

      27.    Voluntariness of Plea. Defendant represents that Defendant’s decision

to plead guilty is Defendant’s own, voluntary decision, and that the following is true:

             (a)    Defendant has had a full opportunity to discuss all the facts and
                    circumstances of this case with Defendant’s attorney, and
                    Defendant has a clear understanding of the charges and the
                    consequences of this plea, including the maximum penalties
                    provided by law.

             (b)    No one has made any promises or offered any rewards in return
                    for this guilty plea, other than those contained in this written
                    agreement.

             (c)    No one has threatened Defendant or Defendant’s family to induce
                    this guilty plea.

             (d)    Defendant is pleading guilty because in truth and in fact
                    Defendant is guilty and for no other reason.

      28.    Consultation with Attorney.       Defendant has discussed this case and

this plea with Defendant’s attorney and states that the following is true:

             (a)    Defendant states that Defendant is satisfied             with   the
                    representation provided by Defendant’s attorney.

             (b)    Defendant has no complaint about the time or attention
                    Defendant’s attorney has devoted to this case nor the advice the
                    attorney has given.

             (c)    Although Defendant’s attorney has given Defendant advice on
                    this guilty plea, the decision to plead guilty is Defendant’s own
                    decision. Defendant’s decision to enter this plea was made after
                    full and careful thought, with the advice of Defendant’s attorney,
                    and with a full understanding of Defendant’s rights, the facts and
                    circumstances of the case, and the consequences of the plea.


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I.    GENERAL PROVISIONS

      29.    Entire Agreement. This Plea Agreement, and any attachments, is the

entire agreement between the parties. Any modifications to this Plea Agreement

must be in writing and signed by all parties.

      30.    Public Interest. The parties state this Plea Agreement is in the public

interest and it takes into account the benefit to the public of a prompt and certain

disposition of the case and furnishes adequate protection to the public interest and is

in keeping with the gravity of the offense and promotes respect for the law.

      31.    Execution/Effective Date. This Plea Agreement does not become valid

and binding until executed by each of the individuals (or their designated

representatives) shown below.

J.    SIGNATURES

      32.    Defendant. I have read all of this Plea Agreement and have discussed

it with my attorney. I fully understand the Plea Agreement and accept and agree to

it without reservation. I do this voluntarily and of my own free will. No promises

have been made to me other than the promises in this Plea Agreement. I have not

been threatened in any way to get me to enter into this Plea Agreement.          I am

satisfied with the services of my attorney with regard to this Plea Agreement and

other matters associated with this case. I am entering into this Plea Agreement and

will enter my plea of guilty under this Agreement because I committed the crime to

which I am pleading guilty. I know that I may ask my attorney and the judge any



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      34.    United States. The Government agrees to the terms of this

Agreement.

                                          Richard D. Westphal
                                          United States Attorney


        I/zs /r"LL                 By:
     Dat6
                                          Assistant U.S. Attorney
                                          U.S. Corrthouse Annex, Suite 286
                                          110 East Court Avenue
                                          Des Moines,Iowa 50309
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                                          Telefax: 5L5-473-9292
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